             Case 1:25-mj-00144-LRV                Document 1            Filed 03/02/25            Page 1 of 1 PageID# 1



                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Eastern District
                                                  __________         of of
                                                              District  Virginia
                                                                           __________

                     United States of America                       )
                                v.                                  )
                                                                    )        Case No. 1:25-mj-144
               MOHAMMAD SHARIFULLAH,
                 Also known as "Jafar,"                             )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)


                                                  CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                2016 to present               in the city/county of                     N/A

in the      outside of any          District of     the United States         , the defendant(s) violated:

              Code Section                                                                 Offense Description
18 U.S.C. 2339B                                                 Providing DQG&RQVSLULQJWR3URYLGHMaterial Support or
                                                                Resources to Designated Foreign Terrorist Organizations
                                                                5HVXOWLQJLQ'HDWK




           This criminal complaint is based on these facts:
           See attached Affidavit.



           __________________________________________________________________________
                                                           _________________

            ✔ Continued on the attached sheet.
            ޭ
                        Reviewed by AUSA/SAUSA                                      Complainant’s signature
                                                                                                  signatu
            Troy A. Edwards, Jr. AUSA
            _____________________________________                       Seth Parker, FBI Special Agent
                                                                        _____________________________________
                       Printed name and title                                         Printed name and title
   Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
   Telephone                                                (specify reliable electronic means).
                                                                                                               Digitally signed by Lindsey R
                                                                            Lindsey R Vaala Vaala
                                                                                            Date: 2025.03.02 20:50:32 -05'00'
   Date:    0DUFK  
                                                                                                     Judge’s signature

   City and state:      Alexandria, Virginia                                 Hon. Lindsey R. Vaala, United States Magistrate Judge
                                                                                                   Printed name and title
